     Case 2:21-cv-01501-JCM-BNW Document 16 Filed 03/07/22 Page 1 of 2




 1                                UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                    ***
 4    John Meggs,                                            Case No. 2:21-cv-01501-JCM-BNW
 5                           Plaintiff,
 6          v.                                                      ORDER re ECF NO. 9
 7    North America 888 Real Estate Investment
      LLP,
 8

 9                           Defendant.
10

11          On February 22, 2022, Plaintiff John Meggs filed a motion to compel responses to

12   interrogatories and requests for productions and also for an acknowledgement by this Court that

13   Defendant North America 888 Real Estate Investment LLP’s failure to respond to Plaintiff’s

14   requests for admissions resulted in those being deemed admitted as a matter of law. See ECF No.

15   9. The essence of Plaintiff’s motion is that the discovery responses were due on January 23, 2022,

16   and that Defendant failed to respond by that date. Id. at 3. As a result, Plaintiff had to cancel the

17   Fed. R. Civ. P. 24 inspection of Defendant’s property, which had been scheduled for February 18,

18   2022. Id.

19          Defendant responds by stating that Plaintiff’s motion is based on a misunderstanding.

20   While Plaintiff’s counsel stated to defense counsel that written discovery had not been served,

21   that information was erroneous. In fact, discovery responses had been served on January 24,

22   2022. See ECF No. 13 at 2.

23          As a result, it is not clear what relief is being sought by Plaintiff. To the extent the

24   responses are deficient in any way, Plaintiff is free to file a motion to compel that comports with

25   LR 26-2. Lastly, the Court reminds the parties of the need to meet and confer before the filing of

26   any such motion.

27   //

28   //
     Case 2:21-cv-01501-JCM-BNW Document 16 Filed 03/07/22 Page 2 of 2




 1         Accordingly, IT IS ORDERED that Plaintiff’s Motion to Compel (at ECF No. 9) is

 2   DENIED.

 3         IT IS FURTHER ORDERED that the hearing regarding ECF No. 9 set for March 9,

 4   2022 is VACATED.

 5

 6         DATED: March 7, 2022.

 7
                                                    Brenda Weksler
 8                                                  United States Magistrate Judge
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28


                                                2
